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IN THE UNITED sTATEs DISTRICT coURT US.HH.-B PH h=h3
FoR THE wEsTERN DISTRICT oF TENNESSEE
wEsTERN DIvIsIoN

 

 

DEANDRE WRIGHT,
Plaintiff,

vi

No. 04-2729 Ma/P
MARK LUTTRELL, et al.,

Defendants.

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ORDER GR.ANTING DEFENDANTS' MOTIONS

 

This action is brought under 42 U.S.C. § 1983 and state law
based on an alleged assault on Plaintiff while he was being held in
the Shelby County Jail. Before the Court are the motion to dismiss
of Defendant Deputy Jailers Nicole Houston-Triplett, Stephen
Maples, Marilyn Calhoun, Tyvedokel Nettles, Shelvy Boone, and Gail
Peppers (collectively “the Deputy Jailers”), filed December l,
2004, and the motion to dismiss, or in the alternative, for summary
judgment, of Defendant Sheriff Mark Luttrell, also filed December
l, 2004. Plaintiff Deandre Wright responded to both motions to
dismiss on February 16, 2005. For the following reasons, the
Deputy Jailers' motion is GRANTED, and Luttrell's motion,

considered as one for summary judgment, is GRANTED.

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with Rule 58 andjor 79(a) FHCP on_ _ 1 __7__£

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I. Background

The complaint alleges the following facts. On September 16,
2003, Plaintiff was incarcerated at the Shelby County Jail at 201
Poplar Avenue. (Compl. q 12.) At approximately 6:18 a.m., inmate
Brandon Johnson was released fronl his cell in administrative
segregation for recreation time. At that time, Plaintiff was in
his cell asleep, and Johnson reached into the cell, cutting
Plaintiff across the face with a razor blade. (Id. I“ 13-15J
Johnson was then restrained by jail employees, and Plaintiff was
taken to the jail’s medical facility and then to a hospital. (Id.
II 16'17.) After treatment, Plaintiff was returned to the pod and
cell in which the assault had occurred.

Jail policy provides that officers issue razor blades to
inmates every Monday and Friday, retrieve them at the end of each
shift, and keep count so that each blade issued is returned. (Id.
IM 18-19.)

II. Jurisdiction

Because Plaintiff brings claims under § 1983, the court has
jurisdiction over the subject matter under 28 U.S.C. § 1331. The
Deputy Jailers argue, however, that Plaintiff has failed to comply
with the requirements for service of process. They aver that a
copy of the summons was left at their place of employment with an
individual who was not authorized to accept service on their

behalf. Federal law generally requires “personal service of a

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summons and complaint upon each individual defendant. Without such
personal service, a district court is without jurisdiction to
render judgment against the defendant.” Harris v. Cleveland, 190
F.R.D. 215, 217 (N.D. Ohio 1999)(citing Ecclesiastical Order of the
Ism of Am, Inc. v. Chasin, 845 F.2d 113, 116 (6th Cir. 1988)).

Federal Rule of Civil Procedure 4 provides that service be
made on an individual 1) according to the law of the State in which
the district court sits, 2) by delivering a copy of the summons and
complaint to the individual personally, 3) by leaving copies of the
summons and complaint at the individual's dwelling house or usual
place of abode with some person of suitable age and discretion
residing therein, or 4) by delivering a copy of the summons and
complaint to an. agent authorized. by' appointment or' by law to
receive service of process. Fed. R. Civ. P. 4(e)(1) and (2).

The summons and complaint were not delivered to the Defendant
Deputy Jailers personally or left at their respective places of
residence. Further, Plaintiff has not shown that Tara Lomax, the
individual with whom the summons and complaints were left, was
authorized to accept service of process for the Deputy Jailers. In
similar circumstances, courts have held that process was not served
in accordance with federal law and have dismissed claims for lack
of personal jurisdiction. _gg Harris, 190 F.R.D. at 219 n.9
(holding that defendant police officers were not properly served

when plaintiff sent copies of complaint and summons by certified

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mail and left copies of each at the defendants' places of
employment); Shumwav v. Hendricks, 1994 WL 672565, at *4 (N.D.N.Y.
1994)(dismissing suit under similar circumstances when plaintiff
alleged_ that defendants acknowledged receipt of complaint and
summons and were not prejudiced in any manner).

Tennessee law contains substantially similar requirements,
providing for service

by delivering a copy of the summons and of the complaint

to the individual personally, or if he or she evades or

attempts to evade service, by leaving copies thereof at

the individual’s dwelling house or usual place of abode

with some person of suitable age and discretion then

residing therein ... or by delivering the copies to an

agent authorized by appointment or by law to receive

service on behalf of the individual served.
Tenn. R. Civ. P. 4.04(1). Plaintiff's attempt does not meet
Tennessee’s requirements for service of process. See Toler v. City
of Cookeville, 952 S.W.2d 831, 833~34 (Tenn. Ct. App. 1997)(holding
that taping summons and complaint to defendant’s door was not
adequate service); see also Wallace v. Wallace, 1996 WL 411627, at
*2 (Tenn. Ct. App. 1996)(finding that leaving summons at
defendant's residence with defendant’s son was insufficient where

defendant had not evaded or attempted to evade service); Souter v.

Brite, 1986 WL 5238, at *3 (Tenn. Ct. App. 1986)(holding that

 

service was insufficient where summons was left at defendant’s
place of employment). Thus, service of process on the Deputy
Jailers did not comply with Fed. R. Civ. P. 4(e).

Plaintiff argues, without citing any authority, that the

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Deputy Jailers elevate “form over function” and that each defendant
specifically acknowledged that the defendant received a copy of the
complaint at his or her place of employment. Although each
defendant acknowledges receiving a copy of the complaint from a

third party, “the fact that the defendants had actual notice of the

suit is ... immaterial.” Harris, 190 F.R.D. at 217 (quoting Chasin,
845 F.2d at 116). Because the Deputy Jailers did not receive

adequate process under federal law, the court does not have
personal jurisdiction over them.
III. Legal Standard

A. Conversion Under Rule 12(c)

Luttrell has filed a motion to dismiss, or in the alternative
for summary judgment. Both parties have attached exhibits for the
court’s consideration and have directed their arguments to factual
issues, such as the extent to which various defendants were aware
of a risk of harm to Plaintiff. When the parties have submitted
evidence in this manner, the court has discretion to decide the
motion as one for summary' judgment. Fed. R. Civ. P. 12(c)
provides:

If, on a motion asserting the defense numbered [12(b)](6)

to dismiss for failure of the pleading to state a claim

upon which relief can be granted, matters outside the

pleading are presented to and not excluded by the court,

the motion shall be treated as one for summary judgment

and disposed of as provided in Rule 56, and all parties

shall be given reasonable opportunity to present all

material made pertinent to such a motion by Rule 56.

Because the parties have offered evidence about disputed factual

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matters, the court will consider Luttrell’s motion as one for
summary judgment.

B. Summary Judgment

The party moving for summary judgment “bears the burden of
clearly' and convincingly' establishing the nonexistence of any
genuine issue of material fact, and the evidence as well as all
inferences drawn therefrom must be read in a light most favorable
to the party opposing the motion.” Kochins v. Linden~Alimak, Inc.,
799 F.2d 1128, 1133 (6th Cir. 1986). The moving party can meet
this burden by pointing out to the court that the respondents,
having had sufficient opportunity for discovery, have no evidence
to support an essential element of their case. gee Street v. J.C.

Bradford & CO., 886 F.2d 1472, 1479 (6th Cir. 1989).

 

When confronted with a properly supported motion for summary
judgment, the nonmoving party must set forth specific facts showing
that there is a genuine issue for trial. A genuine issue for trial
exists if the evidence is such that a reasonable jury could return
a verdict for the nonmoving party. gee Anderson v. Libertv Lobbv.
lng;, 477 U.S. 242, 248 (1986). The party opposing the motion must
“do more than simply show that there is some metaphysical doubt as
to the material facts.” Matsushita Elec. Indus. Co., Ltd. v.
Zenith Radio Corp., 475 U.S. 574, 586 (1986). The nonmoving party
may not oppose a properly supported summary judgment motion by mere

reliance on the pleadings. See Celotex Corp. v. Catrett, 477 U.S.

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317, 324 (1986). Instead, the nonmoving party' must present
“concrete evidence supporting its claims.” Cloverdale Equin. Co.
v. Simon Aerials, Inc., 869 F.2d 934, 937 (6th Cir. 1989). The

 

district court does not have the duty to search the record for such
evidence. See InterRoval Corp. v. Sponseller, 889 F.2d 108, 110-11
(6th Cir. 1989). Nonmovants have the duty to point out specific
evidence in the record that would be sufficient to justify a jury
decision in their favor. §§§ id.

IV. Analysis

A. Federal Claims

Plaintiff brings claims under § 1983 for violation of his
rights under the Fourteenth and Eighth Amendments to the United
States Constitution. The Due Process Clause is not implicated by
a government official's lack of care in preventing an unintended
injury. §e§ Davidson v. Cannon, 474 U.S. 344, 347-48 (1986). Thus,
claims arising from the failure to protect a prisoner from violence
at the hands of fellow inmates generally arise from the Eighth
Amendment’s prohibition of cruel and unusual punishment. Seel e.g.,
Griggs v. Brown, 787 F.2d 590 (6th Cir. 1986); McGhee v. Foltz, 852
F.2d 876 (6th cir. 1988).

The Eighth Amendment requires prisons to provide humane
conditions of confinement. Farmer v. Brennan, 511 U.S. 825, 832
(1994). “A prison official is not free to ignore cbvious dangers

to inmates, and may be liable even if he does not know the exact

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nature of the harm that may befall a particular inmate.” Davis v.

Brian, 182 F.Bd 816 (Table), 1999 WL 503522, at *4 (6th Cir.

 

1999)(citing Farmer, 511 U.S. at 843-44). Prison officials can be
liable for failure to prevent injury to a prisoner in violation of
the Eighth Amendment if they act with “deliberate indifference” to
a substantial risk of serious harm. Curry v. Scott, 249 F.3d 493,
506 n.5 (6th Cir. 2001)(Citing Farmer, 511 U.S. at 834).

A prison official satisfies the deliberate indifference
standard under the Eighth Amendment only if he “knows that the
inmates face a substantial risk of serious harm and disregards that
risk by failing to take reasonable measures to abate it.” ngi§,
182 F.3d at *3 (citing Farmer, 511 U.S. at 847). Prison officials
may avoid liability if they did not know of the underlying facts
indicating a sufficiently substantial danger and were, therefore,
unaware of the danger, or if “they knew the underlying facts but
believed (albeit unsoundly) that the risk to which the facts gave
rise was insubstantial or nonexistent.” Farmer, 511 U.S. at 844.
Thus, Plaintiff survives summary judgment against the prison
officials if he offers evidence showing that they were aware of a
likelihood that Plaintiff would be assaulted.

Luttrell argues that Plaintiff has failed to allege or show
that any officers acted with deliberate indifference to the risk of
harm to Plaintiff. Plaintiff alleges that various defendants “had

actual knowledge of the dangerous conditions in the jail facility

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in which the plaintiff was confined” and acted with deliberate
indifference in “knowing that the Shelby County Jail issued razor
blades to inmates which could then be used as weapons and not
taking proper steps to alleviate the danger to the inmate
population.” (Compl. ll 20-21.)

Plaintiff does not allege that Johnson had previously
assaulted or threatened to assault him. The only evidence of
notice he offers is the incident report of Officer Triplett,
stating that she was informed that “inmates Johnson and Wright had
been arguing all night due to gang related issues.”1 (Pl. Resp. Ex.
6.) This evidence is insufficient to show that the prison
officials were aware of a risk that Johnson would assault Plaintiff

through the bars of his cell. See Davis, 182 F.3d at *5 (holding

 

that two prior assaults by an inmate were insufficient to put the
defendants on notice that the inmate would assault plaintiff).
Thus, there is no material factual dispute about the prison
officials' notice of the risk of harm to Plaintiff.

To the extent that prison officials may have been aware of a
risk of harm to the plaintiff, their actions in response to that
risk do not indicate deliberate indifference. At the time of the
alleged assault, Plaintiff was asleep alone inside his cell.

Separating an at-risk prisoner from a potential assailant is a

 

l It is unclear from the report whether Triplett was informed of the

argument before or after the assault occurred. For purposes of this motion,
the court assumes that Triplett was informed before the assault.

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reasonable response to the risk allegedly presented. Nothing in
the record indicates that the prison officials' response to the
situation was constitutionally inadequate. There would be little
reason to predict that a prisoner could be seriously harmed from
outside his locked cell. Such a risk would occur only if, as in
this case, the assailant was in possession of a weapon. Nothing in
the record indicates that the prison officials knew or should have
known that Johnson had a razor blade. Thus, their actions do not
constitute a deliberate disregard of a risk of harm to Plaintiff.

Although Plaintiff avers that the policy of issuing razor
blades constitutes deliberate indifference to his safety, his
complaint states that “officers issue out razor blades to inmates
every Monday and Friday which are to be retrieved at the end of the
shift keeping count so that each blade issued is returned.”
Although, reading the evidence in the light most favorable to
Plaintiff, there was an obvious violation of this policy by one or
more prison officials, there is no indication from the record that
the policy was disregarded generally or deliberately disregarded in
this case.

Because Plaintiff has not established that any of the prison
officials acted in violation of the Eighth Amendment, Plaintiff's
constitutional claims against Defendant Luttrell under 42 U.S.C. §

1983 must be dismissed.

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B. State Claims

Supplemental jurisdiction is the sole basis for the court's
jurisdiction over Plaintiff’s state law claims. Under federal law,
“[t]he district courts shall have supplemental jurisdiction over
all other claims that are so related to claims in the action within
such original jurisdiction that they form part of the same case or
controversy . . . .” 28 U.S.C. § 1367(a). A district court may,
however, decline to exercise its supplemental jurisdiction if: (1)
the claim raises a novel or complex issue of state law, (2) the
claim substantially predominates over the claim or claims over
which the court has original jurisdiction, (3) the district court
has dismissed all claims over which it had original jurisdiction or
(4) in exceptional circumstances, there are other compelling
reasons for declining jurisdiction. 28 U.S.C. § 1367(c). The court
has dismissed all claims over which it had original jurisdiction.
Therefore, the court finds it appropriate to decline supplemental
jurisdiction over the remaining non-diverse state law claims
pursuant to 28 U.S.C. § 1367(c)(3). Accordingly, the court

DISMISSES Plaintiffs’ state law claims without prejudice.

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IV. Conclusion

For the foregoing reasons, the motion to dismiss of the Deputy
Jailers is GRANTED, and Sheriff Luttrell's motion. for summary
judgment is GRANTED. Plaintiff’s federal claims are DISMISSED, and

Plaintiff’s state claims are DISMISSED without prejudice.

So 0RDERED this ¢'(L day of July 2005.

SAMUEL H. MAYS, JR.
UNITED STATES DISTRICT JUDGE

 

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Honorable Samuel Mays
US DISTRICT COURT

